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Brian Stone


                                    UNITED STATES DISTRICT COURT

                              FOR THE EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                                        Case No. 2:16-cr-00038-MCE
    Plaintiff,

  v.                                                             ORDER

BRIAN STONE,
    Defendant.



        GOOD CAUSE APPEARING the Court orders the court reporter to prepare the sealed portion of

the transcript of the in camera hearing held on February 15, 2018, and to provide a copy to attorney

Krista Hart. The Court orders the transcript to otherwise remain sealed unless and until appellant

introduces the issue into the appeal.

        IT IS SO ORDERED.

Dated: October 16, 2018
